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United States v. Adams, No. 24 Cr. 556 (DEH)
Exhibit G

March 25, 2025 Government Submission
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From: Scotten, Hagan (USANYS)

To: Rohrbach, Andrew (USANYS); Cohen, Celia (USANYS) 1; Wikstrom, Derek (USANYS)
Subject: RE: Tucker Carlson interview

Date: Tuesday, January 21, 2025 10:07:13 PM

Attachments: ian Motion v8 ann docx

Sorry. It had done that thing where it won’t save the new version until | acknowledged that it did in
fact contain comment bubbles. Here you go.

From: Rohrbach, Andrew (USANYS)

Sent: Tuesday, January 21, 2025 10:06 PM

To: Scotten, Hagan (USANYS) [in ; Cohen, Celia (USANYS) 1
SN; sco, Derek (USANYS)

Subject: RE: Tucker Carlson interview

At least when | open this, | don’t see any comment bubbles?

From: Scotten, Hagan (USANYS) [iii

Sent: Tuesday, January 21, 2025 10:00 PM

To: Cohen, Celia (USANYS) 1 A Rohrbach, Andrew (USANYS)
5 or, 02 <5\:

Subject: RE: Tucker Carlson interview

Here it is. Because there’s a lot of artificial red generated by moving stuff around, | thought it would
be easier for everyone to read if | sent a clean version with comments calling out the substantive
changes and explaining their rationale.

From: Cohen, Celia (USANYS) i

Sent: Tuesday, January 21, 2025 9:46 PM
To: Scotten, Hagan (USANYS) iii; Rohrbach, Andrew (USANYS)

1:00, Derek (USNS)

Subject: RE: Tucker Carlson interview

No problem, thanks for handling

From: Scotten, Hagan (USANYS) [i

Sent: Tuesday, January 21, 2025 9:45 PM

To: Rohrbach, Andrew (USANYS) [i Cohen, Celia (USANYS) 1
SE: 6 ''s:-0rr, Oorek (USAN'S)

Subject: RE: Tucker Carlson interview

| talked to Danielle, who welcomed the call, and we got into the nitty gritty. | think | can revise ina
version that we'll be happy with. | also talked to Podolsky and convinced him on one point that was
his and Danielle didn’t remember the rationale. With their agreement, I’m going to revise, send to
the three of you, and if we are in agreement blast out to everyone, including Danielle. So if you
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three can stay awake for a bit longer, I'll go as fast as | can.

From: Rohrbach, Andrew (USANYS) [inn

Sent: Tuesday, January 21, 2025 8:24 PM

To: Scotten, Hagan (USANYS) [is ; Cohen, Celia (USANYS) 1
SE: str, Ocrek (USANYS)

Subject: Tucker Carlson interview

httos://vyoutu.be/xYINZHE-730

Per the index, the relevant bits for us are minutes 0:00-6:00 and 40:34-45:54. In the first bit, they
talk about the substance of the case some, so it may give us a feel for what Adams might be like on
the stand.
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Attachment | to Exhibit G
“Damian Motion Opp v8 Annotated”
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U.S. Department of Justice

United States Attorney
Southern District of New York

The Jacob K. Javits Federal Building
26 Federal Plaza, 37th Floor
New York, New York 10278

March 7, 2025

BY ECF

The Honorable Dale E. Ho
United States District Judge
Southern District of New York
40 Foley Square

New York, New York 10007

Re: United States v. Eric Adams, 24 Cr. 556 (DEH)

Dear Judge Ho:

The Government respectfully submits this letter in response to the defendant’s January 18,
2025 letter, (Dkt. 99), Adams’s letter discusses an article published on January 16, 2025, authored
by Damian Williams, who was United States Attorney for the Southern District of New York from
October 10, 2021. until December 13, 2024.

\Adam’s criticism of the article and the fact of its publication are beside the point. Whatever

appearing in a private publication, could entitle Adams to relief in a criminal case. Adams does males the point less obiqne-~-tier objection to the prior version

may be said of the article, it is unclear how rhetoric in an article written by a private person, Commented [HS1]: Danielle suggested this sentence, which
3 r = i while in my view still preserving our effort to distance ourselves
not, and could not reasonably, claim that the article reveals any grand jury information. Nor does

from the article.
Local Rule 23.1 provide for relief against the Government based on statements made by an
individual who is plainly beyond the control of either party. See United States v. Combs, No. 24
Cr. 542 (AS), 2024 WL 4719584, at *1 (S.D.N.Y. Nov. 8, 2024) (discussing limit of Rule 23.1 to
those participating in a matter).

Adams argues that Williams’s article “should be considered” by the Court in reviewing his
latest motion claiming leaks of grand jury material. (Dkt. 99 at 3). But Adams’s leaks motion
concerns testimony that he describes as occurring shortly before December 22, 2024 (DKt. 83 at 2),
and thus after Williams left office. Moreover, Adams’s claim that the article prejudices him is
difficult to square with the fact that Adams appears more interested than anyone in maximizing
media coverage of the events about which he purports to complain: The news story on the

purported leaks had “an unusual source”—Adams’s attomey.'|And Adams has done all he can ye a
amplify Williams’s article by ensuring its sentiments were repeated in a prominent newspaper. Commented [HS2}: Matt had suggested deleting this sentence,
but was on the fence about it. We talked, and agree that the Spiro
counterpunch will be that he had to do this, because the article so
tainted the jury pool. But we also agreed that our point is probably
worth the counterpoint because Spiro has no credibility with the
court.

1 See William K. Rashbaum & Dana Rubinstein, “Federal Grand Jury Has Heard More Evidence

in Case Against Mayor Adams,” N.Y. Times (Jan. 10, 2025),
https:/Avww.nytimes.com/2025/01/10 /nyre gion/eric-adams-corruption-grand-jury.html.

2 See Rich Calder, “NYC Mayor Eric Adams’ legal team trying to get public corruption case tossed
by claiming ex-top fed prosecutor tainted jury pool,” N.Y. Post (Jan. 18, 2025),
https://nypost.com/2025/01/1 8/us-news/nyc-mayor-eric-adams-legal-team-trying-to-get-public-
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Instead, Adams's latest filing should be viewed in light of his shifting attempts to suggest
that he was indicted for any reason other than his crimes. At the outset of the case, Adams
contended that his indictment resulted from a policy disagreement with the prior presidential
administration arising in October 2022. That claim disintegrated when discovery made clear that
the investigation into Adams began more than a year earlier, based on concrete evidence that
Adams had accepted illegal campaign contributions. (See Dkt. 83 al 3 & n.2; DKt. 89 at 2 & Ex.
C). Having offered one false theory about the origins of the case, Adams’s latest, self-publicized
argument is simply an attempt to shifi the focus away from the evidence of his guilt? And lest
Adams claim the absence of saying this suggests otherwise, Williams did not cause Adams to be
investigated. The evidence of Adams’s crimes was uncovered by career law enforcement officers
performing their duties, in an investigation that began before Williams took office land that has
continued after he left

Respectfully Submitted,

DANIELLE R. SASSOON
United States Attorney

by: /s/
Celia V. Cohen
Andrew Rohrbach
Hagan Scotten
Derek Wikstrom
Assistant United States Attorneys

i

ce: Counsel of Record (by ECF)

corruption-case-tossed-by-claiming-ex-top-fed-prosecutor-tainted-jury-pool (repeating
Williams's statement that the City is “being led with a broken ethical compass” based on Adams's
filing with this Court, which was “first seen” by the Post, and published at 6:42 p.m. on January 18,
2025—1three minutes before Adams filed with this Court).

3 Ty be clear, the Government is not accusing Adams's attorneys of making false statements to the
Court. Adams's attorneys could not know with certainty that their client’s claim was false until
they reviewed discovery, and they have not repeated that claim since they received discovery. (Cf
Dkt. 76 at 3 (Government motion noting that defense counsel now knew “this narrative was false”),
Dkt. 80 (defense response vigorously contesting the motion but not repeating Adams's false claim
or disputing its falsity).

_-—4 Commented [H53]: Danielle wasn't sure why this had come out
and was fine with adding it back in. With ut added back in, [ think
we have a sufficiently strong ending without the prior ending (any
US attomey would signed) which Danielle and others felt might be
read as an attempt to hem in the new crew at main justice before
they had a chance to weigh in on the case.

